DATE: September 7, 2021


             The following cases in which the Court of Appeals issued published opinions have been
      appealed to the Supreme Court:

          1. Lemar Jason McDaniels, Jr
              v. Commonwealth of Virginia
              Record No. 0153-20-2
              Opinion rendered by Chief Judge Decker on
              June 29, 2021

          2. Justin Blake Cox,
              v. Commonwealth of Virginia
              Record No. 1360-20-4
              Opinion rendered by Judge Huff on
               July 6, 2021

          3. Kelly Lamont Poole
              v. Commonwealth of Virginia
              Record No. 1177-20-1
              Opinion rendered by Judge Malveaux on
              July 20, 2021
      On August 26, 2021 the Supreme Court issued an opinion in the following case, which
had been appealed from this Court:

   1. City of Charlottesville
      v. William Sclafani
      Record No. 1815-19-2
      Memorandum opinion rendered by Judge Malveaux on May 5, 2020
      Judgment of Court of Appeals affirmed
      (200791)
